            Case 1:23-mj-05603-UA Document 1 Filed 07/17/23 Page 1 of 3

                                                               23 MAG 5603
Approved:      ________________________________
               HENRY L. ROSS
               Assistant United States Attorney

Before:        THE HONORABLE STEWART D. AARON
               United States Magistrate Judge
               Southern District of New York


 UNITED STATES OF AMERICA                             COMPLAINT

                       v.                             Violation of 8 U.S.C. §§ 1326(a) and
                                                      (b)(2)
 ERVIN ASAN,
      a/k/a “Demir Turan,”                            COUNTY OF OFFENSE:
                                                      NEW YORK
                            Defendant.


SOUTHERN DISTRICT OF NEW YORK, ss.:

              EVERLYN PRADOGUEVARA, being duly sworn, deposes and says that he is a
Deportation Officer with the United States Department of Homeland Security, Immigration and
Customs Enforcement, and charges as follows:

                                          COUNT ONE
                                         (Illegal Reentry)
               1.      From at least in or about April 11, 2023, in the Southern District of New
York and elsewhere, ERVIN ASAN, a/k/a “Demir Turan,” the defendant, being an alien who has
been denied admission, excluded, deported, and removed from the United States, and has departed
the United States while an order of exclusion, deportation, and removal was outstanding, entered,
and was found in, the United States, after removal that was subsequent to a conviction for an
aggravated felony, without having obtained the express consent of the Attorney General of the
United States, or the Secretary for the Department of Homeland Security, to reapply for admission.

                   (Title 8, United States Code, Sections 1326(a) and (b)(2).)

               The bases for my knowledge and the foregoing charge are, in part, as follows:

               2.     I am a Deportation Officer with the United States Department of Homeland
Security, Immigration and Customs Enforcement (“ICE”), assigned to the Enforcement and
Removal Operations Section, and I have been personally involved in the investigation of this
matter. This affidavit is based in part upon my conversations with law enforcement agents and
others and my examination of reports and records. Because this affidavit is being submitted for
the limited purpose of establishing probable cause, it does not include all the facts that I have
learned during the course of my investigation. Where the contents of documents and the actions,
           Case 1:23-mj-05603-UA Document 1 Filed 07/17/23 Page 2 of 3




statements, and conversations of others are reported herein, they are reported in substance and in
part, except where otherwise indicated.

               3.  From my review of records from ICE and publicly available court records
regarding ERVIN ASAN, a/k/a “Demir Turan,” the defendant, I have learned, among other things,
the following:

                       a.     ASAN is a native and citizen of Romania. ASAN is not and has
never been a citizen of the United States. 1

                     b.   On or about May 4, 2012, ASAN was arrested by the New York City
Police Department (“NYPD”) and fingerprinted by the NYPD incident to arrest (the “May 4, 2012
Fingerprints”).

                       c.     On or about March 2, 2016, ASAN was convicted by guilty plea in
United States District Court for the Central District of California of conspiracy to commit bank
fraud, in violation of Title 18, United States Code, Section 1349, and conspiracy to possess
counterfeit access devices and device-making equipment, in violation of Title 18, United States
Code, Section 1029(b)(2). 2 ASAN was sentenced to a term of imprisonment of 21 months on each
count, to run concurrently.

                      d.     On or about January 6, 2017, ASAN was convicted in Clark County
Superior Court in the State of Washington of second degree possession of stolen property, in
violation of Revised Code of Washington Section 9A.56.160. ASAN was sentenced to a term of
imprisonment of 60 days.

                       e.     On or about July 12, 2017, ASAN was removed from the United
States pursuant to a designated immigration official’s order, which was entered on or about March
1, 2017. Immigration officials fingerprinted ASAN on or about April 3, 2017 (the “April 3, 2017
Fingerprints”).

               4.      Based on my conversations with other law enforcement officers, I have
learned, in substance and in part, that:

                      a.      On or about April 11, 2023, ERVIN ASAN, a/k/a “Demir Turan,”
the defendant, was arrested by the NYPD in New York, New York.

                        b.      On or about April 13, 2023, the April 3, 2017 Fingerprints were
1
 Based on my review of records from ICE and publicly available court records, I have learned, in
substance and in part, that ASAN was a Lawful Permanent Resident of the United States from on
or about November 20, 1989 until such status was terminated by a designated immigration
official’s order entered on or about March 1, 2017, as further detailed in paragraph 3(d), infra.
2
  See 8 U.S.C. §§ 1101(a)(43)(R) (defining “aggravated felony” to include an offense “relating
to . . . counterfeiting . . . for which the term of imprisonment is at least one year”) and (U) (defining
“aggravated felony” to include conspiracy to commit an offense described in 8 U.S.C.
§ 1101(a)(43)).
                                                   2
           Case 1:23-mj-05603-UA Document 1 Filed 07/17/23 Page 3 of 3




matched to the May 4, 2012 Fingerprints, as well as to other fingerprints in ICE’s custody.

              5.      Based on my training and experience regarding the National Crime
Information Center (“NCIC”) database, a computerized index of criminal justice information
including criminal record information, and conversations with other law enforcement officials, I
have learned, in substance and in part, that when ERVIN ASAN, a/k/a “Demir Turan,” the
defendant, was arrested by the NYPD on or about April 11, 2023, his fingerprints were entered
into NCIC and matched the fingerprints of ASAN stored in the NCIC database, including the April
3, 2017 Fingerprints and the May 4, 2012 Fingerprints.

                6.     A search of all relevant Department of Homeland Security indices has
confirmed that, following his initial removal from the United States on or about July 12, 2017,
ERVIN ASAN, a/k/a “Demir Turan,” the defendant, never obtained the express consent of the
Attorney General of the United States, or the Secretary of the Department of Homeland Security,
to reapply for admission to the United States.

                WHEREFORE, I respectfully request that a warrant be issued for the arrest of
ERVIN ASAN, a/k/a “Demir Turan,” the defendant, and that he be arrested, and imprisoned or
bailed, as the case may be.


                                   /s/_________________________________
                                       Everlyn Pradoguevara, by SDA with permission
                                      Everlyn Pradoguevara
                                      Deportation Officer
                                      Immigration and Customs Enforcement

Sworn to me through the transmission of this
Complaint by reliable electronic
means (telephone), this 17th day of July, 2023.


___________________________________
THE HONORABLE STEWART D. AARON
United States Magistrate Judge
Southern District of New York




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